      Case:18-01413-KHT Doc#:12-1 Filed:05/17/19                    Entered:05/17/19 12:42:54 Page1 of 2
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      Case:18-01413-KHT Doc#:12-1 Filed:05/17/19                      Entered:05/17/19 12:42:54 Page2 of 2
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